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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,
               Plaintiff,

vs.                                                                  No. 18-CR-2945 WJ



JANY LEVEILLE, et. al.,
                Defendants.


                   UNOPPOSED MOTION TO EXCEED PAGE LIMIT ON
                    DEFENDANTS’ MOTION TO SUPPRESS EVIDENCE

         COME NOW, the defendants by and through their counsel and hereby respectfully move

this Court, pursuant to Rule 47.9 of the Local Rules of Criminal Procedure, for an order

authorizing counsel to exceed the 27-page limit for motions, by 14 pages, and as reasons

therefore submits the following:

         1. The defense intends to file a motion to suppress evidence. However, because of the

complexity of the issues to be litigated, the defense motion is approximately 41 pages in length.

         2. In order to succinctly and adequately set forth the legal arguments with supporting

Facts, the defense must exceed the current page limit by an additional 14 pages.

         3. Counsel for Mr. Wahhaj has been in contact with AUSA Kimberly Brawley who

advised the government does not oppose defendants’ motion to exceed the page limit, by 14

pages.

         Wherefore, for the foregoing reasons defendants respectfully request this

Honorable Court issue an order authorizing defense counsel to exceed the page limit on the

defendant’s substantive motion to suppress evidence, by 14 pages.
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                                                     Respectfully submitted,

                                                     Electronically filed 10-19-22
                                                     Erlinda O. Johnson
                                                     Counsel for Siraj Wahhaj
                                                     620 Roma Ave. N.W.
                                                     Albuquerque, NM 87102
                                                     (505) 792-4048


                                CERTIFICATE OF SERVICE

        I hereby certify that on this_19th day of October 2022, I filed the foregoing
motion electronically through the CM/ECF system, which caused opposing
counsel for the Government to be served by electronic means, as more fully
reflected on the Notice of Electronic Filing.



Electronically filed 10-19-22
Erlinda O. Johnson
Counsel for Mr. Wahhaj
